                    UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE


 CANDY ODOM                                            )
                                                       )
 v.                                                    )              NO. 2:05-CV-326
                                                       )              NO. 2:03-CR-74
 UNITED STATES OF AMERICA                              )              Judge Greer
                                                       )


                                MEMORANDUM OPINION

         Candy Odom(“petitioner” or “Odom”), a federal prisoner, has filed this “Motion

 Under 28 U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence . . .” [Doc. 414].

 The United States has responded in opposition [Doc. 446] and the matter is now ripe

 for disposition.1 The Court has determined that the motion and the record of prior

 proceedings in the case conclusively establish that the petitioner is not entitled to relief

 under § 2255 and, therefore, no evidentiary hearing is necessary. For the reasons

 which follow, the petitioner’s § 2255 motion lacks merit, and the motion will be

 denied.

I.       Procedural and Factual Background

         Odom was one of 14 defendants indicted by the federal grand jury on September

23, 2003, in a 204 count indictment. Odom was charged only in Counts 2 and 204 of


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           Odom also has a pending motion for reduction of sentence pursuant to 18 U.S.C. § 3582. That
 motion will be the subject of a separate order.



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the indictment. Pursuant to a negotiated plea agreement, she pled guilty to Count 2 of

the indictment, i.e. conspiracy to distribute and possess with the intent to distribute 50

grams or more of crack cocaine, on January 26, 2004. A Presentence Report (“PSR”)

was ordered. Based upon a total offense level of 35 and a criminal history category of

II, petitioner’s guideline range was 168 to 210 months of imprisonment. Petitioner was

subject to a statutory minimum mandatory sentence of ten years up to a maximum

sentence of life imprisonment pursuant to 21 U.S.C. § 841(b)(1)(A).

      The United States moved for a downward departure based upon petitioner’s

substantial assistance. The government’s motion was granted and the petitioner was

sentenced on December 13, 2004, to a term of imprisonment of 132 months. Judgment

was entered in the case on January 7, 2005. No direct appeal was filed and the

judgment became final. On December 9, 2005, petitioner timely filed the instant

motion.

      At the time of the entry of petitioner’s guilty plea, certain facts were stipulated

by petitioner in connection with her plea:

             Through the testimony of several witnesses, to include
             coconspirators, the government would demonstrate, beyond
             a reasonable doubt, that from approximately the month of
             January 2000, and continuing to on or about September 23,
             2003, the defendant did knowingly, intentionally, and
             without authority conspire with at least one other person to

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        distribute and possess with the intent to distribute 2,721
        grams of a mixture or substance containing a detectible
        amount of cocaine base (crack), a Schedule II controlled
        substance.

        During an interview with law enforcement agents on
        November 10, 2003, defendant Odom admitted to obtaining
        and distributing 2.7 kilograms of cocaine base (crack) during
        the course of the conspiracy. Specifically, defendant Odom
        admitted the following activity during the period of the
        conspiracy:

        1.           For a 30-day period, defendant Odom purchased
                     an 8-ball of crack cocaine per day from an
                     unindicted coconspirator.

        2.           For a five-month period, defendant Odom
                     purchased an average of 3-5 grams per day from
                     a coconspirator.

        3.           For a one or two-month period, defendant
                     Odom purchases an 8-ball of cocaine three
                     times per week from an unindicted oconspirator.

        4.           When a coconspirator was arrested and sent to
                     North Carolina, defendant Odom and another
                     individual took ten ounces of crack cocaine to
                     North Carolina for him. Defendant Odom
                     distributed a kilogram of cocaine for this same
                     coconspirator during the course of the
                     conspiracy.

        5.           When another coconspirator was arrested,
                     defendant Odom was “holding ½ ounce of crack
                     cocaine for him.”

        In addition to the admitted conduct, defendant Odom
        distributed six grams of crack cocaine to a confidential

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               informant in a recorded and surveilled transaction.

         The PSR also set out certain additional facts which were not included in the

stipulation of facts and which were unobjected to by the defendant at the sentencing

hearing:


               According to Special Agent Ranier Drolshagen of the Federal
               Bureau of Investigation, agents became aware of the
               members of the conspiracy in early 2000. Through the use of
               informants and confidential sources, it was determined that
               codefendants Garret Johnson, Gary McCrae, and Darryl
               McCrae, were obtaining cocaine base (crack) from North
               Carolina, and selling the drug to various distributors in the
               Johnson City area. These three individuals are charged with
               operating a continuing criminal enterprise. Agent Drolshagen
               verified that coconspirators had independently provided
               information that defendant Odom distributed over a kilogram
               of cocaine base (crack) for one codefendant, and regularly
               obtained three to five grams daily over a six-month period.
               Defendant Odom also served as a distributor for Gary
               McCrae, and began her involvement in the conspiracy in
               March of 2001. Based upon this information, the defendant
               will be held accountable for a minimum of 2.7 kilograms of
               cocaine base (crack).


II.      Standard of Review

               This Court must vacate and set aside petitioner’s conviction upon a finding

that “the judgment was rendered without jurisdiction, or that the sentence imposed was

not authorized by law or otherwise open to collateral attack, or that there has been such



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a denial or infringement of the constitutional rights of the prisoner as to render the

judgment vulnerable to collateral attack, . . .” 28 U.S.C. § 2255(b). Under Rule 8(a)

of the Rules Governing Section 2255 Proceedings In The United States District Courts,

the Court is to review the answer, any transcripts, and records of prior proceedings and

any material submitted under Rule 7 to determine whether an evidentiary hearing is

warranted.

      When a defendant files a § 2255 motion, she must set forth facts which entitle her

to relief. Green v. Wingo, 454 F.2d 52, 53 (6th Cir. 1972); O’Malley v. United States,

285 F.2d 733, 735 (6th Cir. 1961). “Conclusions, not substantiated by allegations of fact

with some probability of verity, are not sufficient to warrant a hearing.” Green, 454

F.2d at 53; O’Malley, 285 F.2d at 735 (citations omitted). A motion that merely states

general conclusions of law without substantiating allegations with facts is without legal

merit. Loum v. Underwood, 262 F.2d 866, 867 (6th Cir. 1959); United States v.

Johnson, 940 F. Supp. 167, 171 (W.D. Tenn. 1996).

             To warrant relief under 28 U.S.C. § 2255 because of constitutional error,

the error must be one of constitutional magnitude which had a substantial and injurious

effect or influence on the proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637

(1993) (citation omitted) (§ 2254 case); Clemmons v. Sowders, 34 F. 3d 352, 354 (6th


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Cir. 1994); see also United States v. Cappas, 29 F.3d 1187, 1193 (7th Cir. 1994)

(applying Brecht to a § 2255 motion). To warrant relief for a nonconstitutional error

requires a showing of a fundamental defect in the proceedings that resulted in a

complete miscarriage of justice or an egregious error inconsistent with the rudimentary

demands of fair procedure. Reed v. Farley, 512 U.S. 339 (1994); Grant v. United

States, 72 F. 3d 503, 506 (6th Cir. 1996), cert. denied, 517 U.S. 1200 (1996).

III.   Analysis and Discussion

       In her § 2255 motion, Odom raises numerous claims, including claims of

ineffective assistance of counsel. She argues that: (1) she received ineffective

assistance of counsel at both the plea and sentencing phase of the proceedings in that

(i) defense counsel told her to agree to an amount of drugs (2,721 grams) which was

incorrect and assured her that it could be changed later, and (ii) defense counsel lead her

to believe she would receive a 50 percent reduction in sentence for her cooperation with

the government in the case; (2) because of her belief that she would receive no more

than five years of imprisonment, Odom did not knowingly, intelligently and voluntarily

enter into her plea agreement; and (3) she was sentenced under a mandatory guidelines

scheme based on facts not found by a jury in violation of her Fifth and Sixth

Amendment rights.


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      1.     Ineffective Assistance of Counsel at Plea and Sentencing Phase of the
             Proceedings

      In Strickland v. Washington, 466 U.S. 668(1984), the Supreme Court established

the criteria for determining whether a Sixth Amendment claim of ineffective assistance

of counsel is meritorious. The Strickland test requires that a defendant demonstrate two

essential elements; (1) counsel’s performance was deficient, i.e., counsel was not

functioning as counsel guaranteed the defendant by the Sixth Amendment, and (2)

counsel’s deficient performance prejudiced the defendant, i.e., deprived the defendant

of a fair trial rendering the outcome of the trial unreliable. Id. at 687-88.

      There is a strong presumption that counsel’s conduct was within the wide range

of reasonable professional assistance and that conduct cannot be viewed in hindsight,

but must be evaluated for reasonableness within the context of the circumstances at the

time of the alleged errors. Id. at 689-90. A defendant’s challenge to such decisions

must overcome a presumption that the challenged actions might be considered sound

trial strategy. McQueen v. Scroggy, 99 F.3d 1302, 1311(6th Cir. 1996); O’Hara v.

Wigginton, 24 F.3d 823, 828(6th Cir. 1994).

      When a defendant challenges his guilty plea, to establish the prejudice prong, he

must demonstrate that without counsel’s alleged errors, he would not have pled guilty,

but would have insisted on standing trial. Hill v. Lockhart, 474 U.S. 52, 56,59(1985).

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To demonstrate a reasonable probability that he would have gone to trial, a defendant

is required to present evidence apart from a bare assertion that but for counsel’s error

he would have pleaded not guilty and gone to trial. See Parry v. Rosemeyer, 64 F.3d

110, 118(3rd Cir. 1995). “[R]eviewing court[s] must remember that ‘counsel is strongly

presumed to have rendered adequate assistance and made all significant decisions in the

exercise of reasonable professional judgment.’ ” Wong v. Money, 142 F.3d 313, 319(6th

Cir. 1998), quoting Strickland, 466 U.S. at 690. “An error of counsel, even if

professionally unreasonable, does not warrant setting aside the judgment of a criminal

proceeding if the error had no effect on the [ultimate] judgment.” Id. at 691.

      a. Erroneous Agreed Factual Basis

      Odom claims that she informed her counsel that the amount of drugs stated in the

agreed factual basis (2,721 grams) and relied upon by the probation officer in the

calculation of her offense level was incorrect but that defense counsel told “her to sign

the PSI/PSR and he would get it changed later.” She claims that defense counsel was

ineffective in failing to challenge the drug quantity used for calculation of her offense

level in the PSR.

      As an initial matter, petitioner appears to have procedurally defaulted this claim.

A petitioner is procedurally barred from raising claims in a § 2255 motion, even those

of constitutional magnitude, to which no contemporaneous objection was made or


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which were not presented on direct appeal. U.S. v. Frady, 456 U.S.152, 167-68 (1982);

Nagi v. United States, 90 F.3d 130, 134 (6th Cir. 1996). Where a petitioner has

procedurally defaulted a claim by failing to raise it on direct review, the claim may be

raised in a motion under § 2255 only if the defendant first demonstrates either cause for

the default and actual prejudice or that she is actually innocent. Bousley v. United

States, 523 U.S. 614, 622 (1998). The petitioner here makes no claim of actual

innocence, only that she should be entitled to resentencing based on a different drug

amount.

             A claim of ineffective assistance of counsel may serve as cause excusing

a procedural default. See Elzy v. United States, 205 F.3d 882, 884 (6th Cir. 2000). The

procedural default rule does not apply to claims of ineffective assistance of counsel

because such claims generally are not reviewable on direct appeal, as the record may

be inadequate to review. United States v. Kincaide, 145 F.3d 771, 785 (6th Cir. 1998).

“Section 2255 is not a substitute for a direct appeal, and thus a defendant cannot use it

to circumvent the direct appeal process.” Regalado v. United States, 334 F.3d 520, 527-

28 (6th Cir. 2003), citing Frady at 167-68. Furthermore, “the Frady cause and prejudice

standard applies to a defendant who pleads guilty and first asserts a claim for relief in

a collateral proceeding.” Ratliff v. United States, 999 F.2d 1023, 1025 (6th Cir. 1993).


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Odom does not address cause for her failure to pursue a direct appeal in this case and

no reason is apparent from the record. Nevertheless, the Court will consider her claim

on the merits.

      At the time of Odom’s guilty plea in this case, she signed and filed with the Court

an agreed factual basis containing a stipulation of facts agreed to with the government.

Not only did she sign the agreed factual basis, she stated to this Court under oath at the

time of the entry of her plea that everything contained in the agreed factual basis was

in fact true. Not only that, she was asked during the Rule 11 colloquy how she pleaded

to Count 2 of the indictment and the Court specifically stated the charge as “a

conspiracy to distribute and to possess with the intent to distribute 2.7 kilograms of

crack cocaine.” Her plea was an unequivocal one of “guilty” and she furthermore

informed the Court, again under oath, that she was offering to plead guilty to that

offense because she was in fact guilty. She now argues that she should not have been

held accountable for that quantity of crack cocaine and that her attorney was fully aware

of her disagreement with the quantity but nevertheless urged her to sign the agreed

factual basis and, apparently, to lie to this Court under oath. At no time during the

change of plea hearing did Odom ever express any disagreement with the quantity

stated in the agreed factual basis but rather she affirmatively agreed with it.

      In addition, as set forth above, petitioner must plead sufficient facts in her § 2255


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motion to entitle her to relief. The petitioner has not done so here but relies on

conclusory allegations not supported with sufficient facts. She argues in a conclusory

fashion that she is responsible for a lesser quantity of crack cocaine than that set forth

in the PSR; however, she never makes any allegation about the quantity for which she

now claims responsibility nor does she show how such quantity would have affected her

guideline range. The Court notes that petitioner’s base offense level was level 36 for

a quantity of crack cocaine of at least 1.5 kilograms but less than 4.5 kilograms.

Petitioner makes no attempt to show that the quantity for which she now claims

responsibility would have been less than 1.5 kilograms and, if not, her base offense

level would not have been affected by the calculation. In fact, not only does the agreed

factual basis contain a stipulation of the total quantity for which Odom was being held

responsible, i.e. 2,721 grams, it also contains specific admitted conduct for which the

quantities exceed 1.5 kilograms.

       Odom’s decision to lie under oath to the District Court cannot amount to

prejudice. See Warner v. United States, 975 F.2d 1207 (6th Cir. 1992)           “Solemn

declarations in open court carry a strong presumption of verity. The subsequent

presentation of conclusory allegations unsupported by specifics is subject to summary

dismissal, as are contentions that in the face of the record are wholly incredible.”

Blackledge v. Allison, 431 U.S. 63,74 (1977). This Court scrupulously followed the


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requirements of Fed. R. Crim. P. 11 at the change of plea hearing and conducted a

proper, clear, and thorough plea colloquy. A trial court’s “thorough examination at the

hearing, taking careful and appropriate measures to dispel any confusion on on [the

defendant’s] part before the plea was accepted,” cured any claim that the defendant was

prejudiced by erroneous “advice from [the defendant’s] trial attorney [that allegedly]

led to her misunderstanding the consequences of her guilty plea.” Barker v. United

States, 7 F.3d 629, 633 (7th Cir. 1993), cert. denied, 510 U.S. 1099 (1994). Likewise,

where the court follows the requirements of Rule 11, “the defendant is bound by [her]

statements in response to the court’s inquiry.” Baker v. United States, 781 F.2d 85, 90

(6th Cir. 1986).   Thus, to the extent Odom suggests that she answered the Court’s

questions falsely, her decision to lie cannot amount to prejudice under Strickland.

      b. Counsel’s Representations as to Sentence

      Odom also alleges that she was led to believe by defense counsel that “she would

receive a 50 percent reduction for her cooperation in this case.” She alleges that defense

counsel mislead her and lied to her about the plea agreement, leading her to believe that

she would receive a five year sentence for her limited involvement in the offense.

      As an initial matter, Odom has offered no facts to support her allegation that such

an assurance was given and has offered no affidavit, not even her own, to that effect.


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Moreover, the record in this case contradicts Odom’s assertion and establishes quite

clearly that no assurance was in fact given by defense counsel. In her written plea

agreement, Odom acknowledged that the Court could “impose any lawful term of

imprisonment up to the statutory maximum” and that the maximum penalty to which

she would be exposed was a term of life imprisonment. Plea Agreement, ¶¶ 1(a),(2).

She further acknowledged in her plea agreement that the District Court would determine

the appropriate sentence and that “this determination will be based upon the entire scope

of the defendant’s criminal conduct, criminal history, and pursuant to other factors and

guidelines set forth in the Sentencing Guidelines.” She also acknowledged that her

attorney had “fully explained the nature of the charges, the potential penalties, and any

defenses that she might have.” Id., ¶ 11. The plea agreement further provided that the

“[p]lea Agreement constitutes the full and complete agreement and understanding

between the parties concerning the defendant’s guilty plea to the above–referenced

charge(s), and there are no other agreements, promises, undertakings, or understandings

between the defendant and the United States.” Id., ¶ 20.

      During the plea colloquy, Odom acknowledged under oath that she fully

understood all the terms and conditions of her plea agreement, that she understood the

required mandatory minimum term of imprisonment as well as the maximum statutory

penalty, that she understood that the sentence for her case could not be determined until


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a PSR was prepared, and that she understood that the Court had the authority to impose

a sentence more severe than the sentence called for in the guidelines.

      Furthermore, an exchange between the Court, defense counsel and the petitioner

during the change of plea hearing illustrates that defense counsel had not made any

assurances to Odom with respect to a specific sentence. During the change of plea

hearing, the Court specifically asked defense counsel whether he had “made any

recommendations[sic] to the defendant as to what sentence [the Court] might impose

in this case other than to give her an estimate of her guideline sentencing range.”

Defense counsel indicated that he had advised Odom that the guidelines would apply

based upon her prior criminal history and her cooperation and her acceptance of

responsibility and that they had only a “rough idea of what might happen.” Petitioner

was then questioned directly by the Court about her understanding that whatever her

attorney had told her about her sentence was simply an estimate of what her guideline

sentence might be and she affirmatively acknowledged that she understood that it would

be up to the Court to determine what the sentence would be. Petitioner never, at any

time prior to the filing of her § 2255 motion, disputed her attorney’s statements made

in her presence, she never sought to withdraw her plea of guilty and she never expressed

any dissatisfaction with her attorney, even during her allocution at sentencing. This


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clearly indicates to this Court that Odom’s assertion that it was represented to her that

she would receive a five year sentence is simply not credible and is, in fact, contradicted

by the record.

      As noted above, a review of the transcript of the plea colloquy establishes that

this Court scrupulously followed the requirements of Fed. R. Crim. P. 11 and conducted

a proper, clear, and thorough plea colloquy. Odom is now bound by her statements in

response to the Court’s inquiry and, to the extent Odom suggests that she answer the

Court’s questions falsely, her decision to lie cannot amount to prejudice under the

Strickland test. Accordingly, this issue lacks any merit.

      2.     Voluntariness of the Guilty Plea

      Odom next argues that she did not knowingly, intelligently and voluntarily enter

into her plea agreement because she was falsely promised that she would receive a

sentence of no more than five years in exchange for her cooperation and timely plea of

guilty. This argument lacks merit for the reasons set forth in Section 1 above. A review

of the transcript of the change of plea hearing establishes that this Court complied

precisely with the requirements of Fed. R. Crim. P. 11 and that the guilty plea was

knowingly, intelligently and voluntarily entered.

      3.     Judicial Factfinding

      Odom argues that her Fifth and Sixth Amendment rights were violated in that


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she was sentenced based upon a drug quantity of 2,721 grams of crack cocaine, an

amount which was not charged specifically in the indictment. Citing both Apprendi v.

New Jersey, 530 U.S. 466 (2000) and United States v. Booker, 543 U.S. 220 (2005),

Odom argues that she was sentenced “under the pre–Booker, mandatory Guidelines

scheme” and that the district court improperly “enhanced her sentence based on facts

not found by a jury.” She argues that the proper remedy is for this Court to “determine

whether it would have imposed a different sentence, materially more favorable to

Odom, had it been fully aware that the United States Sentencing Guidelines were

advisory, not mandatory.” This issue lacks merit for several reasons.

      As an initial matter, Apprendi had been decided well before the petitioner’s

judgment became final and she has procedurally defaulted any argument based on

Apprendi. Furthermore, it is clearly established that Booker does not apply retroactively

to cases on collateral review. Valentine v. United States, 488 F.3d 325, 331 (6th Cir.

2007); Humphress v. United States, 398 F.3d 855, 858 (6th Cir. 2005). In any event,

there was no judicial fact finding in this case. The quantity of drugs used to calculate

the guideline range was the amount admitted to by the petitioner in the agreed factual

basis filed with the Court. Even if her guideline range had been based on judge found

facts, the Sixth Circuit has “repeatedly held since Booker that district judges can find

the facts necessary to calculate the appropriate guidelines range using the same


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preponderance-of-the-evidence standard that governed prior to Booker.” United States

v. Ferguson, 456 F.3d 660, 665 (6th Cir. 2005).

IV.   Conclusion

      For the reasons set forth above, the Court holds petitioner’s conviction and

sentencing were not in violation of the Constitution or laws of the United States.

Accordingly, her motion to vacate, set aside or correct her sentence pursuant to 28

U.S.C. § 2255 will be DENIED and her petition DISMISSED.

            Under 28 U.S.C. § 2253(c)(2), the Court must decide whether a certificate

of appealability should be granted.     A certificate should issue if petitioner has

demonstrated a “substantial showing of a denial of a constitutional right.” 28 U.S.C.

§ 2253(c)(2).   The Sixth Circuit Court of Appeals disapproves of the issuance of

blanket denials of a certificates of appealability. Murphy v. Ohio, 263 F. 3d 466 (6th

Cir. 2001). The District Court must “engage in a reasoned assessment of each claim”

to determine whether a certificate is warranted. Id. at 467.    Each issue must be

considered under the standard set forth by the Supreme Court in Slack v. McDaniel, 529

U.S. 473, (2000). Id.

            Under Slack, to warrant a grant of the certificate, “[t]he petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong.” Having examined each of the petitioner’s


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claims under the Slack standard, the Court finds that reasonable jurists could not find

that this Court’s dismissal of petitioner’s claims was debatable or wrong. Therefore,

the Court will deny petitioner a certificate of appealability as to each issue raised by her.

              A separate order will enter.

              ENTER:


                                                      s/J. RONNIE GREER
                                                  UNITED STATES DISTRICT JUDGE




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